                                                                     1     Kenneth H. Brown (CA Bar No. 100396)
                                                                           Miriam Manning (CA Bar No. 178584)
                                                                     2     PACHULSKI STANG ZIEHL & JONES LLP
                                                                           150 California Street, 15th Floor
                                                                     3     San Francisco, California 94111-4500
                                                                           Telephone: 415/263-7000
                                                                     4     Facsimile: 415/263-7010

                                                                     5     E-mail: kbrown@pszjlaw.com
                                                                                   mmanning@pszjlaw.com
                                                                     6
                                                                           Counsel for E. Lynn Schoenmann,
                                                                     7     Chapter 7 Trustee

                                                                     8                                  UNITED STATES BANKRUPTCY COURT

                                                                     9                                  NORTHERN DISTRICT OF CALIFORNIA

                                                                    10                                       SAN FRANCISCO DIVISION

                                                                    11   In re:                                                   Case No.: 18-31182
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12                                                            Chapter 7
                                                                         CROSS CHANNEL, INC.
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13                                   Debtor.
                                            ATTORNEYS AT LAW




                                                                                                                                  CERTIFICATE OF SERVICE
                                                                    14
                                                                                                                                  [No Hearing Required]
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                                                                     Case: 18-31182           Doc# 16    Filed: 02/28/19   Entered: 02/28/19 16:52:07     Page 1 of 3
                                                                     1    STATE OF CALIFORNIA                    )
                                                                                                                 )
                                                                     2    CITY OF SAN FRANCISCO                  )

                                                                     3           I, Oliver Carpio, am employed in the city and county of San Francisco, State of California.
                                                                         I am over the age of 18 and not a party to the within action; my business address is 150 California
                                                                     4   Street, 15th Floor, San Francisco, California 94111-4500.

                                                                     5       On February 28, 2019, I caused to be served the following documents in the manner stated
                                                                             below:
                                                                     6
                                                                                     Chapter 7 Trustee’s Ex Parte Application for Order Requiring Production of Documents
                                                                     7                and Appearance for Examination by Sourabh Niyogi Pursuant to Bankruptcy Rule 2004
                                                                     8                    TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
                                                                                          (NEF): Pursuant to controlling General Orders and LBR, the foregoing document
                                                                     9                    was served by the court via NEF and hyperlink to the document. On
                                                                                         February 28, 2019, I checked the CM/ECF docket for this bankruptcy case or
                                                                    10                    adversary proceeding and determined that the following persons are on the
                                                                                          Electronic Mail Notice List to receive NEF transmission at the email addresses
                                                                    11                    stated below
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12
                                                                                         (BY OVERNIGHT DELIVERY) By sending by FedEx and/or USPS Express
                                                                                          Mail to the addressee(s) as indicated on the attached list.
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13
                                            ATTORNEYS AT LAW




                                                                                          (BY MAIL) I am readily familiar with the firm's practice of collection and
                                                                    14                    processing correspondence for mailing. Under that practice it would be deposited
                                                                                          with the U.S. Postal Service on that same day with postage thereon fully prepaid
                                                                    15                   at San Francisco, California, in the ordinary course of business. I am aware that
                                                                                          on motion of the party served, service is presumed invalid if postal cancellation
                                                                    16                    date or postage meter date is more than one day after date of deposit for mailing
                                                                                          in affidavit.
                                                                    17

                                                                    18                   (BY EMAIL) I caused to be served the above-described document by email to the
                                                                                          parties indicated on the attached service list at the indicated email address.
                                                                    19           I declare under penalty of perjury, under the laws of the State of California and the United
                                                                         States of America that the foregoing is true and correct.
                                                                    20
                                                                                 Executed on February 28, 2019 at San Francisco, California.
                                                                    21

                                                                    22                                                                     /s/ Oliver Carpio
                                                                                                                                            Legal Assistant
                                                                    23

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                                                                     1   ECF/NEF List
                                                                     2           Kenneth H. Brown kbrown@pszjlaw.com, ocarpio@pszjlaw.com
                                                                                 John Iaccarino jiaccarino@juno.com
                                                                     3           Office of the U.S. Trustee / SF USTPRegion17.SF.ECF@usdoj.gov
                                                                                 E. Lynn Schoenmann tteeschoenmann@earthlink.net, lschoenmann@ecf.epiqsystems.com
                                                                     4
                                                                         SERVED VIA US MAIL
                                                                     5
                                                                          Sourabh Niyogi
                                                                     6    2930 Adeline Drive
                                                                          Burlingame, CA 94010
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P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                        SAN FRANCISCO, CALIFORNIA




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                                            ATTORNEYS AT LAW




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